70 F.3d 1272
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.LOCAL 1234, UNITED BROTHERHOOD OF CARPENTERS AND JOINERS OFAMERICA, AFL-CIO Respondent.
    
      No. 95-6133.
      United States Court of Appeals, Sixth Circuit.
      Nov. 16, 1995.
      Before:  WELLFORD, NELSON, and SUHRHEINRICH, Circuit Judges.
    
    JUDGMENT
    
      1
      This cause was submitted upon the application of the National Labor Relations Board (the "Board") for the enforcement of a certain order on consent issued by it against the respondent, Local 1234, United Brotherhood of Carpenters and Joiners of America, AFL-CIO, its officers, agents, and representatives, on August 17, 1995, in a proceeding before the Board numbered 7-CC-1640.
    
    
      2
      Upon consideration, it is ORDERED and ADJUDGED that the said order of the Board be and the same hereby is enforced.  The respondent, Local 1234, United Brotherhood of Carpenters and Joiners of America, AFL-CIO, its officers, agents, and representatives, shall abide by and perform the directions of the Board contained in such order.
    
    